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                                 CLERK, U'S. DIS.IRIIJ f COUII"I
                                                                                                                   L\oc t(O   fK
                     -            MlNNEAPoLrs,         uNiF$9fsTATEs DISTRICT COURT
                                                                DISTRIET OF MINNESOTA
                                                                               Case No.


                    UNITED STATES OF AMERICA'
                                                  Plaintiff,
                                                                                                     INFORMATION
                            v.

                    ARKADJ PAVLOVICH PICHURIN,
                                 '                 Defendant.

                                                                        THAT:
                             THE ACTING UNITED STATES ATTORNEY CI{ARGES

                                                                '          COITNT         1



                                                                                          2O2]-' in the
                             Frorh on or about November 8, 202A to on or abbut January-8;

                    State and District of Minnesota, the d'efendant'

                                                                ArkardY' Pavlovich            Pichurin,

                    did employ, rlse, persuade, induce, entice, and crieree a minor female,"MINOR
                                                                                                                         A
                                                                              to errgage in sexually
                    who was b€tween the ages of and 10-years-oid at the'time,
                                               g

                                                                                     of such conduct'
                    explicit conduct for the purpose of prod.ucing visual depictions
                                                                                       MD5 values and
                    including but not limited to, electronic frles'with.tlie following

                    images:

                                              MD6 Value                                             Descriptiolr
                            .fAfS    Z   ?e   8e90 12e2e8cee3c2cb84               A video wherein Minor A is"seen
                     "eaf                                                         completely naked with her vagina
                                                                                  .exnosed

                     +ffi   drt}Lg 1 abf2         1b 0 5 I 8 5cf69   dflf4 9      A rid.o whereii Minor A iS exposing her
                                                                                  vaeina and anus to the camera
                     otgaafztS82alo5c3991561-97b8f50b                             A        *h"*in Minor A exposes her bare
                                                                                    "id*
                                                                                  buttocks; pulling the cheeks apart to
                                                                                  exoose' her anus and vagrqal-lhE--




tl                                                                                 -i
                                                                                                           L
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                                     and transmitted' using materials that
                                                                           had                       :
where such depictions were produced                                                              :




been mailed., shipped,'and transported
                                       in and a{fecting interstate and foreign
                                       Asus Vivobook laptop computer,                  all in
commerce by any means, including by an
                                                    225t(a) and225l(e)'
violation of Title 18, united states code, sections



      upon conviction on count      f.   in this,Information, the defendant shall forfeit to
                                                      Cdde; Section ZZ53(a):
the United States pursuani to Title 18, United States
                                                                   2252' 22524.'
       1. any visual depiction described in section 225't" 225tA'
          2252F., or 2260 of chapter 110 of Title
                                                  18, united states code', or any

            book,magazine,perio.dical,frlm,vid.eotape,orothermatterwhich
                       .any such 'visual depiction, which was produced, transported,
            contains

            mailed, shipped, or received in violation of chapter
                                                                 110'of     fitle   18' United


            States Code;
                                                            traceable to gross profrts or
       2.   any property, real or personal, constituting or

            other proceeds obtained from such offense; dnd

            any property, real or personal, used or intended to be
                                                                   used to commit or        to
       3.                                                                                            1




                                                          property traceable to such
            promote the commission of such offense or any

            .ProPertY-

        The property subject to forfeiture upon conviction on count
                                                                    L                  in this       i


 trnformation'iircludes, but is not limited    to:                                                   ,



            a.AsusVir;obookM4ls0laptopcomputerwithserialnumber
                L?N0CX02898L27G;



                                                 6t
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              b. Motorola        Moto G-6 cellular telephone with                      MEID
                     256691840601451893;

        .     c. sdmsung Note 8 sM-N950u cellular teleBhone with IMEI
                     358505084854658;

              d. samsung Behold scH-T919 cellular           telephone   with sefial. number
                     R?WS627304V;

              ,e. Samsung Slash SPH.M310 cellular telephone                     with     HEx
                     41000001023448;

               f.    HTC Windows cellular telephone with serial number HT23TVR01061;

               g. Apple iPhone       x   A1901 cellular telephone       lvith serial   number
                     FKlVQ4WNJCLH;

               h.    16GB Lexar flash drive; and

               i.    8GB Apple iPod Touch 2G 41288 with serial number 18922A88201'

                                                                                    the United
            If any   of the above-described property is unavailable for forfejture,

    states intends to seek the forfeiture of substitute property as
                                                                    provided' for in     fitle

    21, united states code, section 853(p), as incorporated
                                                            by Title L8, united' states

    Code, Section     2253(bXc)-                                  :




    Dated:     filosf 20, brLl                        W. ANDERS FOLK
                                                      Acting United States AttorneY




                                                BY:   ALEXANDER D. CHIQUOINE
                                                      Assistant U.S. AttorneY
                                                .     Attorney ID No. 0396420

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